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ANDERSON LAHNE & FUJISAKI LLP
A Limited Liability Law Partnership

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Attorneys for Defendant
ASSOCIATION OF APARTMENT OWNERS
OF DIAMOND HEAD SANDS

                  IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF HAWAII

ATOOI ALOHA, LLC, an Nevada            )   Case No. 16-00347 JMS RLP
Limited Liability Company; CRAIG B.    )
STANLEY, as Trustee for THE            )
EDMON KELLER AND CLEAVETTE             )   NOTICE OF APPEARANCE
MAE STANLEY FAMILY TRUST;              )   (Philip L. Lahne)
CRAIG B. STANLEY, individually;        )
MILLICENT ANDRADE, individually,       )
                                       )
                   Plaintiffs,         )
                                       )
            vs.                        )
                                       )
ABNER GUARINO; AURORA                  )
GAURINO; ABIGAIL GUARINO;              )
INVESTORS            FUNDING           )
CORPORATION, as Trustee for an         )
unrecorded Loan Participation          )
Agreement dated June 30, 2014; APT-    )
320, LLC, a Hawaii limited liability   )
company; CRISTETA C. OWAN, an          )
individual; ROMMEL GUZMAN;             )
FIDELITY NATIONAL TITLE &              )
ESCROW OF HAWAII and DOES 1-           )
100 Inclusive,                         )
                 Defendants.           )   (Caption continued on next page)
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_______________________________ )
APT-320, LLC, a Hawaii Limited )
Liability Company                     )
                                      )
            Third Party Plaintiff     )
                                      )
                                      )
                                      )
APARTMENT OWNERS                   OF )
DIAMOND HEAD SANDS,                   )
            Third Party Defendant.    )
                                      )
ABIGAIL LEE GAURINO; CRAIG B. )
STANLEY, as Trustee for THE )
EDMON KELLER AND CLEAVETTE )
MAE STANLEY FAMILY TRUST; )
CRAIG B. STANLEY, individually,       )
                                      )
            Third Party               )
            Cross-Claim Defendants. )
                                      )
                                      )


                            NOTICE OF APPEARANCE

      PLEASE TAKE NOTICE that PHILIP L. LAHNE, ESQ., partner in the law

firm of Anderson Lahne & Fujisaki LLP A Limited Liability Law Partnership, hereby

enters his appearance in this case for Defendant ASSOCIATION OF APARTMENT

OWNERS OF DIAMOND HEAD SANDS ("Association"). The Association,

through its counsel, hereby requests that all pleadings, documents and other papers

served or filed in this case by any other party in interest, be served on the Association

to the following address:

             ANDERSON LAHNE & FUJISAKI LLP
             A Limited Liability Law Partnership
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            Dated: Honolulu, Hawai`i, October 26, 2017


                              /s/ Philip L. Lahne
                              PHILIP L. LAHNE
                              PAMELA J. SCHELL
                              Attorneys for Defendant
                              ASSOCIATION OF APARTMENT OWNERS OF
                              DIAMOND HEAD SANDS
